                      Casein1:19-cv-02420-GHW
AO 440 (Rev. 06/12) Summons a Civil Action            Document 4 Filed 03/27/19 Page 1 of 2

                                UNITED STATES DISTRICT COURT
                                                              for the
                                            Southern District
                                           __________ Districtofof
                                                                 New  York
                                                                   __________

 KSENIA SHNYRA, ALEXANDER REYNGOLD and                          )
            KENNETH WALKER                                      )
                                                                )
                                                                )
                      Plaintiff(s)                              )
                                                                )
                          v.                                            Civil Action No. 19-CV-02420
                                                                )
   STATE STREET BANK AND TRUST CO., INC.                        )
                                                                )
                                                                )
                                                                )
                     Defendant(s)                               )

                                           SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STATE STREET BANK AND TRUST CO., INC.
                                 780 Third Avenue, 8th Floor
                                 New York, NY 10017




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                 Mikhail Ratner, Esq.
                                 EMERGENT LLP
                                 48 Wall Street, 11th Floor
                                 New York, NY 10005



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:          03/27/2019                                                                     /s/ D. Howie
                                                                                     Signature of Clerk or Deputy Clerk
                       Casein a1:19-cv-02420-GHW
AO 440 (Rev. 06/12) Summons     Civil Action (Page 2)      Document 4 Filed 03/27/19 Page 2 of 2
Civil Action No. 19-CV-02420

                                                 PROOF OF SERVICE
                 (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

         This summons for (name of individual and title, if any)
was received by me on (date)                                       .

         ’ I personally served the summons on the individual at (place)
                                                                            on (date)                            ; or

         ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
         on (date)                          , and mailed a copy to the individual’s last known address; or

         ’ I served the summons on (name of individual)                                                                   , who is
         designated by law to accept service of process on behalf of (name of organization)
                                                                            on (date)                            ; or

         ’ I returned the summons unexecuted because                                                                           ; or

         ’ Other (specify):
                                                                                                                                      .


         My fees are $                      for travel and $                    for services, for a total of $          0.00          .


         I declare under penalty of perjury that this information is true.


Date:
                                                                                        Server’s signature



                                                                                    Printed name and title




                                                                                        Server’s address

Additional information regarding attempted service, etc:
